                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

Blake Lively,                                  §
                                               §
       Plaintiff,                              §
                                               §
v.                                             §   Case No. 1:24-cv-10049-LJL
                                               §   (Consolidated with 1:25-cv-00449-LJL)
Wayfarer Studios LLC, a Delaware Limited       §
Liability Company; Justin Baldoni, an indi-    §   JURY TRIAL DEMANDED
vidual; Steve Sarowitz, an individual; It      §   ORAL ARGUMENT REQUESTED
Ends With Us Movie LLC, a California           §
Limited Liability Company; Melissa Na-         §
than, an individual; The Agency Group PR       §
LLC, a Delaware Limited Liability Com-         §
pany; Jennifer Abel, an individual; Jed Wal-   §
lace, an individual; and Street Relations,     §
Inc., a California (sic) Corporation           §
                                               §
       Defendants.                             §


          REPLY MEMORANDUM OF LAW IN SUPPORT OF
 DEFENDANTS’ MOTIONS TO DISMISS OR, IN THE ALTERNATIVE, MOTION
               TO SEVER AND TO TRANSFER VENUE
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                                                               v
   INTRODUCTION

   Lively’s response (“Resp.” Or “Response”) does not attempt to show personal jurisdiction

over Wallace or Street (“Wallace Parties”) under New York’s long-arm statute but rather her

“theory of personal jurisdiction—a conspiracy-based theory”, Resp. at 2, is “the sole ‘jurisdic-

tional’ issue (which is) whether the Wallace Parties were members of a conspiracy”, Resp at 12.

Thus, Lively argues, personal jurisdiction is not based on the Wallace Parties’ own acts in New

York (there are none) but rather the acts of others, the co-defendants, under the doctrine of con-

spiracy jurisdiction a “gloss on personal jurisdiction, where defendants can be subject to personal

jurisdiction because a co-conspirator’s minimum contacts are imputed to the otherwise remote

defendant”. N. Price & J. Jarvis, Conspiracy Jurisdiction, 76 Stan. L. Rev. 403, 405 (2024) (“Stan-

ford”).

   This “still developing … but chaotic theory” has already created “an active and jagged circuit

split” Id. at 403 and “[T]he Supreme Court has never weighed in on conspiracy jurisdiction as a

form of personal jurisdiction over civil defendants.” Id at 415. An academic commentator has de-

scribed the doctrine as “seriously flawed”. Note, The Long Arm and Multiple Defendants: The Con-

spiracy Theory of In Personam Jurisdiction, 84 Colum. L. Rev. 506, 510 (1984). Furthermore, con-

spiracy jurisdiction has been rejected by the Texas Supreme Court in National Industry Sand Asso-

ciation v. Gibson, 897 S.W.2d 769, 773 (Tex. 1995), and the United States Court of Appeals for the
Fifth Circuit, Delta Brands Inc. v. Danieli Corp., 99 Fed. App’x 1, 6 (5th Cir. 2004), which includes

Texas where the Wallace Parties reside thus informing due process fairness which the Response

never even discusses.

   Nonetheless the conspiracy theory has been accepted in the Second Circuit (its “berceau” or

“literally cradle”, Stanford at 431 n. 133) but under circumstances far removed and distinguishable

from those here. For example, the only substantive case Plaintiff cites in support of her conspiracy

jurisdiction theory, Charles Schwab Corp v. Bank of Am. Corp., 883 F.3d 68, 82 (2d Cir. 2018)

(“Schwab I”), Resp. at 10, noted that “Defendants do not contest Schwab’s statutory basis for




WALLACE’S REPLY IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                        PAGE 1
personal jurisdiction under California state law” contrasted here with the Wallace Parties’ vigor-

ous and unrebutted argument that the New York long-arm statute does not reach them. Dkt. 141

at 7. The dispute in Schwab I was about whether statutory compliance with the long arm statute

also satisfied due process.

   Here, Lively’s only allegations regarding conspiracy jurisdiction are made “on information and

belief,” “argumentative inferences,” and “legal conclusion[s] couched as [] factual allegation[s],”

which this Court need not credit. Raspberry Holdings LLC v. NextBank Intl. Inc., No. 24-CV-1529

(LJL), 2025 WL 438270, at *3 (S.D.N.Y. Feb. 7, 2025). And even those allegations (however char-

acterized) “must be taken as true” only “to the extent they are uncontroverted by the defendant's

affidavits” where, as here, jurisdictional discovery has not been conducted. Raspberry Holdings,

2025 WL 438270, at *3.

   Lively claims, wrongly under settled and binding authority, that this Court should ignore the

Wallace declaration, Resp. at 2, 11. But even if the Court does not credit the Wallace affidavit (alt-

hough it must) Plaintiff bears the burden of establishing conspiracy jurisdiction and yet does not

allege (i)when or where the conspiracy was formed, (ii) who was in it at what point in time, (iii)

what acts the alleged co-conspirators (none of whom are New York residents) performed in New

York (with one irrelevant exception discussed below), (iv) how the conspiracy was aimed at or

directed at New York especially when the complaint does not allege any territorial boundaries for
“the sophisticated and well-funded retaliation campaign that sought to ‘bury’ and ‘destroy’ anyone

(not just New Yorkers) that challenged his (Baldoni’s) brand” AC at ¶ 5 (emphasis supplied), (v)

when the Wallace Parties joined the alleged conspiracy (apparently it was later, Resp. at 6); (vi)

and what they specially did to further the aims of the conspiracy in New York; and (vii) Wallace’s

awareness of those acts taken by the alleged co-conspirators and that those acts were in New York.

   For venue, Lively totally ignores that “the Plaintiff bears the burden of showing . . . that venue

is proper for each claim against each defendant.” P.C. v. Driscoll, No. 24-CV-2496 (LJL), 2025 WL

104522, at *6 (S.D.N.Y. Jan. 15, 2025). Lively, instead, lumps other Defendants’ alleged actions
and attributes them to Wallace for venue. See, e.g., Resp. at 17. Next, Lively wrongly invokes the


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First Filed Rule where, as here, Wallace and Street were not sued in her initial complaint and this

Court lacks jurisdiction over both. See, e.g., Samsung Elecs. Co., Ltd. v. Solas Oled Ltd., No. 21 CIV.

5205 (LGS), 2022 WL 294631, at *4 (S.D.N.Y. Feb. 1, 2022)

   Finally, if the Court reaches the merits, it should dismiss. For IIED, to avoid Hustler, Lively

argues that Wallace and Street did far more than publish statements, but her Complaint says oth-

erwise, and her own California cases support dismissal. For false light, either New York law or

Texas law apply because Wallace’s alleged conduct occurred in Texas and the purported ultimate

impact was felt by Lively in New York. See Kinsey v. New York Times Co., 991 F.3d 171, 177 (2d Cir.

2021). And for FEHA, Lively’s cites to the Amended Complaint do not add up to knowledge, her

California cases go against her, and she ignores that Wallace was not her employer.

   PERSONAL JURISDICTION

   While the Response ignores Lively’s previous sworn statement in her Texas litigation, this

Court should accept her judicial admission there that “[t]he critical evidence relevant to [her]

claims, the specifics of the conduct by Mr. Wallace . . . is not otherwise available to” her. Texas

Case ¶48. To provide Lively and this Court with those specifics, Wallace declared that he took no

overt acts to retaliate against Lively, see, e.g., Wallace Decl. ¶31. Rather, Wallace merely observed

social media passively, id. ¶¶ 16–25, 30, and recommended “that everyone should let the sentiment

on social media unfold organically” and “not to do anything,” id. ¶25. So were there a conspiracy
to “‘destroy’ Ms. Lively and punish her,” Resp. at 5, Wallace and Street were not an “integral

part,” nor does the AC allege as much although the Response, belatedly, claims “the Wallace Par-

ties [at some point in time] become an integral part of the conspiracy.” Resp at 6.

   Much like the AC, the Response ignores that “Schwab [I]’s three-prong test serves the pur-

poseful availment requirement, rather than supplants” it. Schwab Short-Term Bond Mkt. Fund v.

Lloyds Banking Group PLC, 22 F.4th 103, 125 (2d Cir. 2021) (“Schwab II”). It does not dispatch

with the principle that “[a] defendant ‘should reasonably anticipate being haled into court’ in the

forum [.]” Id. (quoting World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980)). So,
“[t]o confer jurisdiction, defendants must have known of or should have anticipated overt acts in


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New York to advance the conspiracy.” Bur-Tex Hosiery, Inc. v. World Tech Toys, Inc., No. 23 CIV.

3454 (LGS), 2024 WL 989841, at *9 (S.D.N.Y. Mar. 7, 2024). And, as a matter of the New York

long-arm statute,1 the out-of-state defendant must be “aware of the torts being committed by the

[co-conspirators/agents]” and “some extent of control over the in-state actor.” Bangladesh Bank

v. Rizal Com. Banking Corp., 226 A.D.3d 60, 78–79 (N.Y. App. Div. 1st Dept. 2024) (post-Schwab

II case defining New York law). This awareness requirement is part of “determining a defendant’s

membership in the conspiracy.” Struna v. Leonardi, 626 F.Supp.3d 657, 670 (S.D.N.Y. 2022).

    In advocating for personal jurisdiction, Lively never identifies any specific co-conspirator com-

mitting any specific act that qualifies under § 302(a)(2)—an act taken while physically present in

New York—that she is seeking to impute to Wallace through the conspiracy theory jurisdiction. In

fact, she never once cites New York’s long-arm statute. Just like conspiracy theory jurisdiction is

not a substitute for purposeful availment, Schwab II, 22 F.4th 103, 125, conspiracy jurisdiction is

not a substitute for application of the long-arm statute but a species of the agency theory to meeting

it. Bangladesh, 226 A.D.3d at 77. Indeed, as this Court has read Schwab I, “the Second Circuit did

not establish a stand-alone theory of personal jurisdiction, divorced from any statutory basis, and

doing so would be inconsistent with existing law.”Rudersdal v. Harris, No. 18CV11072GHWRWL,

2021 WL 2209042, at *16 (S.D.N.Y. Feb. 27, 2021), report and recommendation adopted as modified,

No. 1:18-CV-11072-GHW, 2022 WL 263568 (S.D.N.Y. Jan. 28, 2022) (citing Marvel Characters,
Inc. v. Kirby, 726 F.3d 119, 128 (2d Cir. 2013) (“A district court must have a statutory basis for

exercising personal jurisdiction.”)); see also Schwab I, at 82 (“A plaintiff must have a state-law stat-

utory basis for jurisdiction and demonstrate that the exercise of personal jurisdiction comports with

due process.”).

    At most, Lively points to AC ¶26, which characterizes Sarowitz’s comment that he would

“spend $100 million to ruin the lives of Ms. Lively and her family,” which later really turned out

1
 In Schwab II, Defendants had conceded application of the New York long-arm statute and only
objected on due process grounds. Schwab II, 22 F.4th at 121 (“Only the third requirement – com-
pliance with due process – is contested here.”). Here, Wallace has challenged, to which Lively has
not responded, long-arm jurisdiction.


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to be a statement that he was “prepared to spend whatever necessary to defend Baldoni, Wayfarer

Studios, and himself.” AC ¶26 n.8. But Lively never explains why this comment is tortious con-

duct in New York or that Wallace was aware of it, let alone both. No other paragraph that Lively

points to in the Response for personal jurisdiction mentions New York. Nor does any paragraph

allege any awareness in general or of any specific act in New York.

   For Wallace’s participation in the conspiracy, Lively cites two paragraphs to support that TAG

“engag[ed] Mr. Wallace and Street Relations to design and implement a ‘social combat’ plan.”

(citing AC ¶¶ 215–16). The first paragraph are text messages between Abel and Nathan that never

mention Wallace or Street. AC ¶215. The next paragraph is an allegation “[o]n information and

belief, TAG engaged Mr. Jed Wallace around this same time, in early August 2024, to design and

implement their ‘social combat’ plan.” AC ¶216. First, this is exactly the type of “[c]onclusory

allegation[] based only on information and belief [that] are not sufficient to provide [] factual sup-

port.” Multi Access Ltd. v. Guangzhou Baiyunshan Pharm. Holdings Co., Ltd., No. 20-CV-7397

(LJL), 2024 WL 3498180, at *4 (S.D.N.Y. July 22, 2024).

   Second, this Court generally takes the allegations in the AC as true, but only “to the extent

they are uncontroverted by the defendant’s affidavits.” Raspberry Holdings, 2025 WL 438270, at

*3 (quoting MacDermid, Inc. v. Deiter, 702 F.3d 725, 727–28 (2d Cir. 2012)). Lively, instead, claims

“Wallace’s declaration is irrelevant to the personal jurisdiction analysis,” by mis-citing, inter alia
Dorchester, Dorchester Fin. Sec., Inc. v. Banco BRJ, S.A., 722 F.3d 81, 86 (2d Cir. 2013). Resp. at 11.

But the Dorchester Court did not prohibit the trial court’s “considering materials outside the plead-

ings as we have made clear that a district court may do so….” Dorchester, 722 F.3d at 86. This

Court acknowledged Dorchester and noted “it remains true that where a plaintiff advances only

conclusory allegations to contradict defendant’s specific averments or evidence refuting jurisdic-

tion, such allegations will not suffice to create the necessary prima facie showing that the court may

exercise personal jurisdiction.” Creative Photographers, Inc. v. Grupo Televisa, S.A.B., No. 23-CV-

7106 (LJL), 2025 WL 388401, at *8 n.9 (S.D.N.Y. Feb. 4, 2025) (citing In re Terrorist Attacks on
Sept. 11, 2001, 714 F.3d 659, 676–78 (2d Cir. 2013)).


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   So this Court can look to Wallace’s declaration and see Lively does in fact “lack the specifics

of the conduct by Mr. Wallace,” Texas Case ¶48, because her general allegations get his conduct

all wrong. See Wallace Decl. ¶¶ 16–31. Wallace or Street did not post anything on social media on

behalf of the Wayfarer Parties or about Lively, Reynolds, It Ends With Us, or any of Lively’s or

Reynolds’s businesses. Id. ¶17. They didn’t direct or ask anyone to post anything about the same.

Id. ¶18. They didn’t publish, directly or indirectly, any information or content (negative or other-

wise) regarding Lively. Id. ¶19. And Wallace specifically forswears that a “social combat” or “so-

cial manipulation” plan is not a service he provided related to anything in this case. Id. ¶22.

    Third, even setting aside Wallace’s declaration, ¶216 is merely an allegation that TAG hired

Wallace to design and implement, not that Wallace actually did design or implement anything. Par-

agraphs 215 and 216 do not plausibly allege what overt act Wallace actually ended up taking, namely

what Wallace designed or did to implement any so-called plan. Lively wants this Court to draw an

inference from her conclusory “information and belief” that Wallace was hired to do an amor-

phous retaliatory campaign and that he then carried it out. But she never gets into specifics. Even

“if credited by the trier,” this allegation “would [not] suffice to establish jurisdiction over the de-

fendant.” Raspberry Holdings, 2025 WL 438270, at *3.

   Beyond those two paragraphs, Lively generally gestures to her background section, pages 6 to

8. The allegations on page 6 describe Wallace and Street Relations, but do not allege that Wallace
did anything here. See Resp. at 6. On page 7, Lively finally gets to what she supposes Wallace did:

“seeding, manipulating, and advancing disparaging content on social media platforms and internet

chat forums.” Id. at 7 (citing ¶223). But this is just another way of saying Wallace and Street retal-

iated against her—a threadbare recital of her claim, and a legal conclusion couched as a factual

allegation. See Raspberry Holdings, 2025 WL 438270, at *3. As for ¶250–57, these are more vague

references to a “digital team,” not Wallace or Street, except that Lively says Nathan and Abel

merely “discussed working” with Wallace. See, e.g., ¶250 (emphasis added). She also bolds and

italicizes other vagaries like “efforts to shift the narrative” from some random TAG employee who
is not alleged to be part of the conspiracy. Resp. at 8 (quoting ¶245).


                                                  6
    But bolding and italicizing her conclusory claims do not make them any more specific in the

face of Wallace’s declaration explaining specifically that he did not post, like, boost, or ask anyone

else to do so. See Wallace Decl. ¶¶ 16–31. Whatever Lively says about TAG, Nathan, or Abel, what

she does not say is that Wallace made any particular post, liked or otherwise “boosted” any story

or post, or really explain how Wallace joined in on the alleged conspiracy to “destroy” her. That

is because, if it happened—which Wallace cannot deny it did because he was not there, but again

he doubts, Wallace Decl. ¶31—it did not involve Wallace. As Wallace explained in detail, his rec-

ommendation was to do nothing on social media because Baldoni was already organically “crushing

it on Reddit.” Wallace Decl. ¶25. This paragraph, however, admittedly corroborates one allegation

in Lively’s AC, where Lively posts a chart showing online sentiment began to turn negative in July,

two weeks before Lively alleges Wallace was hired. See AC ¶332; see also AC ¶216 (alleging that

Wallace was hired in August 2024); Wallace Decl. ¶ 16 (confirming August date).

    Lively’s AC stays at a high level because she lacks “the specifics,” but now that she has them

in Wallace’s declaration, she wants the Court to disregard them. See Resp. at 11. As this Court has

recognized, “it remains true that where a plaintiff advances only conclusory allegations to contra-

dict defendant’s specific averments or evidence refuting jurisdiction, such allegations will not suf-

fice to create the necessary prima facie showing that the court may exercise personal jurisdiction.”

Creative Photographers, 2025 WL 388401, at *8 n.9. Without that prima facie showing, Lively’s
claims against Wallace should be dismissed.

    And without a prima facie showing, Lively is not entitled to jurisdictional discovery. “[J]uris-

dictional discovery is not permitted where ... the defendant submits an affidavit that provides all

the necessary facts and answers all the questions regarding jurisdiction.” Guglielmo v. JEGS Auto-

motive, Inc., No. 20-CV-5376 (LJL), 2021 WL 1026168, at *5 (S.D.N.Y. Mar. 17, 2021); see also

Chirag v. MT Marida Marguerite Schiffahrts, 604 F. App'x 16, 18–19 (2d Cir. 2015); Creative Pho-

tographers, Inc. v. Grupo Televisa, S.A.B., No. 23-CV-7106 (LJL), 2024 WL 1533189, at *14

(S.D.N.Y. Apr. 8, 2024). “Plaintiff offers no reason to question Mr. [Wallace]’s sworn statements
or to believe that its requested discovery will yield a basis for this Court’s jurisdiction,” other than


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to call it self-serving. Air Marshall Motorsports LLC v. Moke Am. LLC, No. 20-CV-8047 (LJL), 2021

WL 323256, at *2 (S.D.N.Y. Feb. 1, 2021).2

    VENUE

    For Improper Venue, Lively ignores that “the Plaintiff bears the burden of showing . . . that

venue is proper for each claim against each defendant.” Driscoll, 2025 WL 104522, at *6. She in-

stead, lumps other Defendants’ alleged actions and attributes them to Wallace for venue. See, e.g.,

Resp. at 17 (“[F]or venue purposes the relevant facts are those involved in the underlying torts for

which Ms. Lively seeks to hold the Wallace Parties vicariously liable”). She never alleges or points

to a single action that the Wallace Parties took in New York. See generally AC; see also Resp. 13.

She, instead, as on personal jurisdiction, relies on a conspiracy theory, now about venue.

    To support her conspiracy theory of venue, Lively cites Al Thani v. Hanke, No. 20 CIV. 4765

(JPC), 2022 WL 489052, at *10 (S.D.N.Y. Feb. 17, 2022) and ignores controlling authority from

the United States Supreme Court which holds that the acts of co-conspirators cannot be a basis for

venue, rather venue must be established as to each defendant. Cf. Bankers Life & Cas. Co. v. Hol-

land, 346 U.S. 379, 384 (1953); see also Driscoll, 2025 WL 104522, at *6. All that Al Thani recog-

nized was that when a defendant makes multiple phone calls to a plaintiff he knows is in New York,

and makes false representations during those calls, his presence in another state does not alone

defeat venue. See id. Nothing in Al Thani changes the defendant-by-defendant and claim-by-claim
showing that Lively has failed to even attempt in her response as to Wallace. See Resp. at 13 (never

once mentioning Wallace in her analysis); see also Driscoll, 2025 WL 104522, at *6. The only thing

Lively has said about where Wallace’s actions took place was under oath, in a Texas filing, where

she swore “a substantial part . . . occurred in Hays County, [Texas].” And that he was working

from home in Texas. Texas Case ¶36.


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  The Court should decline Lively’s invitation to hold onto Wallace until the merits trial. See Resp.
at 12. If ordered, limited jurisdictional discovery would quickly confirm the one merits issue: Wal-
lace’s noninvolvement in the conspiracy. See, e.g., Select Harvest USA LLC v. Indian Overseas
Bank, No. 22-CV-3931 (LJL), 2023 WL 2664079, at *11 (S.D.N.Y. Mar. 28, 2023) (limiting or-
dered jurisdictional discovery).


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    Lively agrees with all these principles—as she has said in moving to dismiss Wallace’s Texas

complaint against her for lack of venue: “Instead, in defamation actions, courts look to the defend-

ant’s conduct and where that conduct took place to determine where a substantial part of the

events or omissions giving rise to the claim occurred.” Lively MTD, 1:25-cv-00163, at Dkt. 17-1.

    As to the First-Filed Rule, Lively emphasizes that it “does not require identical parties.” Pa-

gano v. Johnson Controls, Inc., No. 24-CV-01020 (MMG), 2025 WL 786535, at *3 (S.D.N.Y. Mar.

12, 2025) (cited by Resp. at 14). But she cites cases where those attempting to evade the first-filed

rule were still involved in the first-filed case. See, e.g., id. at *1 (three actions against same defend-

ant); see also Save Power Ltd. v. Syntek Finance Corp., 121 F.3d 947, 949, 951 (5th Cir. 1997) (party

could not evade transfer to first-filed suit it was involved in). But Wallace and Street were not

involved in this lawsuit until she named them two weeks after Wallace’s suit in Texas federal court.

    And the first-filed rule only applies when the first-filed court actually has jurisdiction over the

parties and the claims. See, e.g., Samsung Elecs. Co., Ltd. v. Solas Oled Ltd., No. 21 CIV. 5205 (LGS),

2022 WL 294631, at *4 (S.D.N.Y. Feb. 1, 2022) (recognizing an exception when there is an absence

of jurisdiction). But here, this Court lacks jurisdiction over Wallace and Street.

    Finally, Lively cites that Wallace’s Texas Action includes anticipatory declaratory judgment

relief, and argues that it is not “entitled to priority under the first- filed rule.” Resp. at 14–15 (citing

Dish Network, L.L.C. v. Am. Broad. Companies, Inc., No. 12 CIV. 4155 LTS KNF, 2012 WL
2719161, at *2 (S.D.N.Y. July 9, 2012)). First, a “party has a right to seek declaratory judgment

where a reasonable apprehension exists that if it continues an activity it will be sued by another

party.” 800-Flowers, Inc. v. Intercontinental Florist, Inc., 860 F.Supp.128, 132 (S.D.N.Y. 1994). In

any event, this “special circumstances exception to the first-filed rule,” Dish Network, 2012 WL

2719161, at *4, does not apply because Wallace did not only bring an anticipatory declaratory judg-

ment action, but also a substantive claim for relief for defamation, see First Filed Case, 1:25-cv-

00163 (Dkt. No. 1) (W.D. Tex. Feb. 4, 2025) ¶¶ 21–24.




                                                     9
   FAILURE TO STATE A CLAIM

   For IIED, Lively seeks to evade the clear application of Hustler Mag., Inc. v. Flawell, 485 U.S.

46, 56 (1988) by arguing that her “IIED claim as to the Wallace Parties extends beyond a ‘grava-

men’ of falsehoods.” Resp. 23. But then she cites AC paragraphs alleging that Wallace and Street

published negative comments or elicited others to publish negative comments. See id. Wallace de-

nies making any such comments, Wallace Decl. ¶ 19, but taking Lively’s allegations as true, the

gravamen remains Wallace’s First Amendment activity of speech, even if (as alleged) that speech

was not under Wallace’s name. See, e.g., McIntyre v. Ohio Elections Commn., 514 U.S. 334, 342

(1995); see also Talley v. California, 362 U.S. 60, 64 (1960).

   Lively’s actual malice allegations then amount to one paragraph that she has a threadbare re-

cital of the element of actual malice and the conduct and knowledge of people other than Wallace

and Street. See Resp. at 24. There are no factual allegations that knowledge or reckless disregard

for any supposed falsities were “brought home” to Wallace and Street. See, e.g., New York Times

Co. v. Sullivan, 376 U.S. 254, 287 (1964). Rather, Lively points to what Wallace’s so-called “co-

conspirators” were allegedly spreading information that “they knew to be false.” Resp. at 24. Nor

are there any factual allegations what Wallace or Street actually did to “work[] to ‘bury’ or ‘de-

stroy’” Lively. Contra Resp. at 24. Rather, the Response just cites paragraphs in the Amended

Complaint that refer to “the Wayfarer team,” without any factual support identifying which, if
any, of these posts that Wallace or Street supposedly seeded. See Resp. at 25 (citing AC paragraphs

that do not mention Wallace or Street). Lively does not allege any specific negative post about her,

“her business accounts, [or] her loved ones” came from Wallace or Street. Contra Resp. at 25.

   Even without Hustler, the Court should be dismissed. Texas or New York should apply to all

Lively’s claims, New York choice-of-law points to Texas or New York because “the rule against

intentional infliction of emotional distress is conduct-regulating, and plaintiff claims the alleged

acts occurred,” Darboe v. Staples, Inc., 243 F.Supp.2d 5, 19 (S.D.N.Y. 2003), in New York, AC

¶¶ 19-21, 73, or in Texas, Texas Case ¶36 (“a substantial part . . . occurred in Hays County,
[Texas]”). And as this Court explained, “IIED is a highly disfavored [tort] under New York law.”


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Blanco v. Success Acad. Charter School, Inc., 722 F.Supp.3d 187, 217 (S.D.N.Y. 2024). The tort is

similarly unavailable in Texas when the conduct alleged is essentially defamation. See also Warner

Bros. Ent., Inc. v. Jones, 538 S.W.3d 781, 814 (Tex. App.—Austin 2017) (dismissing “gap-filler”

tort of IIED, when claim sounded in defamation), aff'd, 611 S.W.3d 1 (Tex. 2020). Lively ignores

Wallace’s arguments about New York and Texas law and goes straight to California law.

    But Lively’s California cases also support dismissing her IIED claim, so the result would be the

same. Lively claims in Flynn v. Higham, 149 Cal. App. 3d 677, 682 (Cal. Ct. App. 1983) the Califor-

nia court found “IIED sufficiently pleaded” independent of defamation. Resp. at 23. But, in real-

ity, the Court “conclude[d] that the plaintiffs have failed to plead facts sufficient to constitute a

cause of action for the intentional infliction of emotional distress,” Flynn, 149 Cal. App. 3d at 683,

because “ to allow an independent cause of action for the intentional infliction of emotional distress

based on the same acts which would not support a defamation action, would allow plaintiffs to do

indirectly that which they could not do directly. It would also render meaningless any defense of

truth or privilege.”

    Her next case, Vargas, is no better because it holds that a “claim for intentional infliction of

emotional distress against Vons is without merit as a matter of law.” Vargas v. Vons Cos., Inc. 2022

WL 17685801, at *14 (Cal. Ct. App. Dec. 15, 2022) (unpublished and therefore not citable in Cali-

fornia).
    Lively takes further liberties when discussing her remaining California IIED case. She describes

Hadley v. City of Anaheim, No. SACV181831DOCKES, 2020 WL 2405259, at *5 (C.D. Cal. Jan.

28, 2020), as mere “creat[ion of] fake email accounts and social media profiles,” Resp. at 25, but

that case involved the filing of a false police report and “fabricating an entire online persona for

Ms. Hadley and acting nefariously in her name[.]” She makes no such allegations here (nor could

she).

    For False Light, Lively never addresses that Wallace cites binding circuit precedent explaining

that New York choice-of-law considers “where the plaintiff suffered the greatest injury,” usually
the Plaintiff’s domicile, and “where the statements emanated and were broadcast.” Kinsey v. New


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York Times Co., 991 F.3d 171, 177 (2d Cir. 2021) (cited by MTD at 16). That is either New York or

Texas, neither of which recognize false light. See MTD at 17 (collecting cases). In only pushing for

California law to apply, Lively merely italicizes “the” and “greatest interest” in the general for-

mulation of New York’s choice of law standard, without actually getting into the substance. See

Resp. at 18. But the substance points to New York or Texas. See Kinsey, 991 F.3d at 177. She also

does not explain why, under New York law, Street’s California incorporation matters to her claim

(she admits that at the time Street Relations was sued here it was and remains a Texas Corpora-

tion), see Resp. at 19, when she has no allegations that Wallace or Street Relations did anything in

California, see generally AC. Nor does she explain how passively monitoring social media can make

Wallace liable for false light. See Resp. at 19 (citing Wallace Decl. ¶28).

   For her FEHA Aiding and Abetting Claim, Lively’s own cases again make the case against

her. In Mobley v. Workday, Inc., the Court held the plaintiff needed to “allege specifically what the

employers’ discriminatory conduct was, how [aiding and abetting defendant] knew of the discrim-

inatory conduct, and how [aiding and abetting defendant] either assisted or encouraged the dis-

criminatory conduct.” 740 F.Supp.3d 796, 813 (N.D. Cal. 2024). Here, Lively’s claim turns on

retaliating against her for her sexual harassment and HR complaints. See Resp. at 21, 22 n.7. But

she never alleges that Wallace knew of any HR complaints or claims for sexual harassment that

qualify as protected acts under FEHA. See generally AC. Lively merely mishmashes one allegation
about Wallace, ¶245, with one about HR Complaints with Nathan and Abel, ¶43, without explain-

ing how Wallace knew or claiming he did. See Resp. at 21. And Lively’s reference to ¶260 and

alleged misconduct is not even misconduct alleged by Lively, so it cannot be the basis of her retal-

iation claim. See Resp. at 21. She also totally fails to connect the allegations in ¶¶261–66 to Wallace

in any way.

   Like most of her Response, Lively also just fails to respond; this time to Smith v. BP Lubricants

USA, Inc., which faulted the plaintiff for failing to “allege that [aiding and abetting defendant]

knew [employer]'s conduct violated FEHA.” 64 Cal.App.5th 138, 146 (Cal. Ct. App. 2021). Her




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other case, Aclh v. Superior Court, 122 Cal.App.4th 339, 389 (Cal. Ct. App. 2004) cites Fiol v. Doell-

stedt, 50 Cal.App.4th 1318, 1326 (Cal. Ct. App. 1996), which says: “Mere knowledge that a tort is

being committed and the failure to prevent it does not constitute aiding and abetting.” See also

Alch, 122 Cal.App.4th at 389 (listing as element that alleged aider and abettor “knew the employ-

er's conduct violated FEHA”). Lively has not even alleged Wallace’s knowledge of any particular

acts or protected action for retaliation adequately, but even if she had, it would not be enough as

Alch says, the alleged aider and abettor must have known “the employer’s conduct violated

FEHA”.

   CONCLUSION

   Beyond being listed as Parties, AC ¶¶ 65-66, the Wallace Parties are barely mentioned in

Lively’s 141-page, 482-paragraph, five-attached-exhibits amended complaint. If this were a Holly-

wood movie the critics would deem the script overwritten and the peripheral characters (Wallace

and Street) under-developed and therefore cut from the film. Of course, no one likes to be de-

scribed as a bit player or an afterthought but the Wallace Parties will get over it because this lack of

attention necessarily leads to the conclusion that there is no adequate factual predicate for this

Court’s exercise of jurisdiction or venue and the case, as to them, should be dismissed without

prejudice. In the alternative, the claims against them should be severed and transferred to the

United States District Court for the Western District of Texas, Austin Division where a claim
against Lively by the Wallace Parties is pending. But if we are truly into Almost Happy Ending(s)

the Court could reach the merits and, if it does, dismiss the claims against the Wallace Parties with

prejudice.

   We predict the Wallace Parties (and the critics) would like that. A cleaner story line and, sadly

for some, less attorneys fees.




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Dated: April 9, 2025        Respectfully submitted,

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                                  CERTIFICATE OF COMPLIANCE

   This memorandum of law complies with S.D.N.Y. Local Civil Rule 7.1, because it meets the

formatting requirements, including being 12-point type or larger, with one-inch margins, and the

body text is exactly double-spaced. This memorandum of law complies with Judge Liman’s indi-

vidual practices because no party has objected to the length of this brief at 13 pages.



                                                       /s/ Charles L. Babcock
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